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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

   UNITED STATES OF AMERICA
                                           Crim. No. 09-769 (MLC) (DEA)
         V.                                                               Af4,,
                                                                                  ‘62oi
   PRINCE SARNOE                                                      tp1

   UNITED STATES OF AMERICA
                                           Mag. No. 16-1525 (DEA)
         V.
                                           ORDER
   ISHMAEL ABDULLAH, et at.,

       This matter having been opened to the Court on motion by defendant

Prince Sarnoe for an order for pretrial release pursuant to Title 18, United

 States Code, Section 3142(e); and the Court having found on the record after a

hearing in the matters captioned United States v. Ishmaet Abduttah, et at., Mag.

No. 16-1525 (DEA) and United States v. Prince San-we, Crim. No. 09-769 (MLC),

that no conditions or combinations of conditions of the defendant’s pre-trial

release will ensure the safety of the community, and for the reasons stated on

the record; and for good cause shown:

      IT IS, therefore, on thisday of March, 2017,

      ORDERED that defendant’s second motion for pretrial release is

DENIED; and it is further

      ORDERED, pursuant to Title 18, United States Code, Section 3 142(e),

that defendant Prince Sarnoe be detained pending further proceedings in the
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 above-captioned matters, and that he be committed to the custody of the

 Attorney General or his authorized representative; and it is further

       ORDERED, pursuant to Title 18, United States Code, Section 3 142(1),

 that defendant Prince Sarnoe be afforded reasonable opportunity for private

 consultations with counsel; and it is further

       ORDERED, pursuant to Title 18, United States Code, Section 3142(1),

 that, upon order of this or any other court of the United States of competent

jurisdiction or on request of an attorney for the United States, defendant Prince

 Sarnoe shall be delivered to a United States Marshal for the purpose of

 appearances in connection with court proceedings.




                                      HONO1ABLE,/6OI)çLAS E. ARPERT
                                      United States Magrate Judge




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